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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                         )
                                                  )
              Plaintiff,                          )
                                                  )
        vs.                                       )              Cr. No. 05-1849 JH
                                                  )
DANA JARVIS, et al.,                              )
                                                  )
              Defendants.                         )

                            NOTICE OF EXPERT WITNESSES

        COMES NOW the United States of America, by and through David C. Iglesias,

United States Attorney for the District of New Mexico, and James R.W. Braun, Assistant

United States Attorney for said district, and hereby notifies the defendants that it intends

to introduce the following expert testimony in its case-in-chief in the above-captioned

case.

        1. Drug Enforcement Administration Forensic Chemists:

              Sanford Angelos (DEA North Central Lab, Chicago – Retired)

        Based on his observations and laboratory tests, coupled with his training and

experience as a DEA chemist, Mr. Angelos will give his opinion that DEA Exhibits 1 (1a-

1k), 2 (2a-2k), 3, 4, and 5 contain marijuana. A summary of Mr. Angelos’s testimony is

attached hereto as Exhibit 1. Mr. Angelos’s resumé is attached hereto as Exhibit 2.

              Camela Dubach (DEA North Central Lab, Chicago)

        Based on her observations and laboratory tests, coupled with her training and
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experience as a DEA chemist, Ms. Dubach will give her opinion that DEA Exhibit 6

contains cocaine hydrochloride. A summary of Ms. Dubach’s testimony is attached

hereto as Exhibit 3. Ms. Dubach’s resumé is attached hereto as Exhibit 4.

              Carrie Gallagher (DEA North Central Lab, Chicago)

       Based on her observations and laboratory tests, coupled with her training and

experience as a DEA chemist, Ms. Gallagher will give her opinion that DEA Exhibits 11

and 15 contain marijuana and that DEA Exhibit 14 contains cocaine hydrochloride. A

summary of Ms. Gallagher’s testimony is attached hereto as Exhibit 5. Ms. Gallagher’s

resumé is attached hereto as Exhibit 6.

              Anthony Harris (DEA North Central Lab, Chicago)

       Based on his observations and laboratory tests, coupled with his training and

experience as a DEA chemist, Mr. Angelos will give his opinion that DEA Exhibits 1, 2,

3, 4.01, 5, 8, 9, 10A-10K, 12, and 13 contain marijuana. A summary of Mr. Harris’s

testimony is attached hereto as Exhibit 7. Mr. Harris’s resumé is attached hereto as

Exhibit 8.

              James Iwamoto (DEA South Central Lab, Dallas)

       Based on his observations and laboratory tests, coupled with his training and

experience as a DEA chemist, Mr. Iwamoto will give his opinion that DEA Exhibits 1

(1a-1k), 7, 8, 10, 11, 19, 20, 24, 25, 26, and 31 contain marijuana, and that DEA Exhibit 9

contains Psilocin. A summary of Mr. Iwamoto’s testimony is attached hereto as Exhibit



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9. Mr. Iwamoto’s resumé is attached hereto as Exhibit 10.

              Christy Reisen (Eastern Nebraska Forensic Lab, Omaha)

       Based on her observations and laboratory tests, coupled with her training and

experience as a DEA chemist, Ms. Reisen will give her opinion that Items 1-11, Sarpy

County case number 16214-05 (DEA Exhibit 32) contains marijuana. A summary of Ms.

Reisen’s testimony is attached hereto as Exhibit 11. Ms. Reisen’s resumé is attached

hereto as Exhibit 12.

       2. Drug Enforcement Administration Special Agent Richard Stark

       Based on his knowledge, skill, training, experience, and education, Agent Stark

will testify generally regarding the business of drug trafficking and the tools of the drug

trafficking trade. Agent Stark will also testify regarding the defendants’ use of code

words during the intercepted telephone conversations that will be introduced at trial, and

regarding his analysis of the drug ledgers seized from 1440 Calle Cielo Vista in Bernalillo

New Mexico on August 25, 2005 (DEA Exhibit N-192). Agent Stark’s resumé is

attached hereto as Exhibit 13.

       3. Internal Revenue Service CID Special Agent Michael Albers

       Based upon his education, training and experience, Agent Albers will testify as to

scheduling and summary of records and documentary evidence in this case and defendant

Dana Jarvis’s unexplained source of funds. A summary of Agent Albers’ testimony is

contained in exhibits 14, 15, 16, 17, 18 19, 20, 21 and 22, attached hereto. Agent Albers’



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resumé is attached hereto as exhibit 23.

       4. Internal Revenue Service Revenue Agent Joselyn Somera

       Based upon her education, training and experience, Agent Somera will testify as to

scheduling and summary of records and documentary evidence in this case. A summary

of Agent Somera’s testimony is contained in exhibits 17, 18, 20, 21, and 22, attached

hereto. Agent Somera’s resumé is attached hereto as exhibit 24.


                                                Respectfully submitted,

                                                DAVID C. IGLESIAS
                                                United States Attorney

                                                /s/ James R.W. Braun

                                                JAMES R.W. BRAUN
                                                STEPHEN R. KOTZ
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 25 th day of January, 2007, I filed the foregoing
pleading electronically through the CM/ECF system, which caused counsel of record for
the defendants to be served by electronic means.

                                                /s/ James R.W. Braun

                                                JAMES R.W. BRAUN
                                                Assistant U.S. Attorney




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